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     2                                UNITED STATES DISTRICT COURT
              . BRUTO    N            NORTHERN DISTRICT OF ILLINOIS
   THOMA.SDG     R IC T COURT
CLERK, U .S IS T                           EASTERN DIVISION

                  UNITED STATES OF AMERICA
                                                               No. 20 CR 825
                              V.
                                                               Violations: Title 21, United States
                  JOSE LUIS OLIVA                              Code, Section 841(a)(l), Title 18, ·
                                                               United States Code, Sections
                                                               922(g)(l), 924(c), and 924(e)(l)

                                                                    Presiding Judge Steven C. Seeger
                                                   COUNT ONE        Magistrate Judge Young B. Kim
                      The SPECIAL NOVEMBER 2019 GRAND JURY charges:

                      1. ·   On or about November 20, 2020, at Aurora, in the Northern District of

             Illinois, Eastern Division, and elsewhere,

                                               JOSE LUIS OLIVA,

          defendant herein, did knowingly and intentionally possess with intent to distribute a

          controlled substance, namely, a quantity of a mixture and substance containing a

          detectable amount of cocaine, a Schedule II Controlled Substance;

                     In violation of Title 21, United States Code, Section 841(a)(l).

                     2.      Before JOSE LUIS OLIVA committed the offense charged in this count,

          JOSE LUIS OLIVA had a final conviction for a serious drug felony, namely, a

          conviction in Case No. 02 CR 719 (Northern District of Illinois), for conspiracy to

         possess with intent to distribute and distribute cocaine, in violation of Title 21,

         United States Code, Section 846, for which he served more than 12 months'



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imprisonment and for which he was released from serving any term of imprisonment

related to that offense within 15 years of the commencement of the instant offense.
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                                    COUNT TWO

      The SPECIAL NOVEMBER 20Lg GRAND JURY further charges:

       On or about November 20,2020, at Aurora, in the Northern District of Illinois,

Eastern Division,

                                 JOSE LUIS OLTVA,

defendant herein, knowing      that he had previously been convicted of a           crime

punishable by a term of imprisonment exceed.ing one ye4r, did knowingly possess, in

and affecting interstate commerce, a fi.rearm, namely, a loaded. black HiPoint Model

C9, 9mm semiautomatic pistol bearing serial number P1901238, which fi.rearm had

traveled. in interstate commerce prior to d.efendant's possession of the firearm;

      In violation of Title 18, United States Code, Sections 922(S)O) and 924(e)(1).




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                                  COUNT THREE

           SPECIAL NOVEMBER 2019 GRAND JURY turther charges:

      On oi apout November 20,2020, at Aurora, in the Northern District of Illinois,

Eastern Division,

                                JOSE LUIS OLTVA,

defendant herein, did knowingly possess a firearm, namely, a loaded black HiPoint

Model C9, 9mm semiautomatic pistol hearing serial number P1901238, in
furtherance of a drug traffrskirg crime for which defend.ant may be prosecuted in a

court of the United States, namely, possession with intqnt to distribute a quantity of

a mixture and substance containing a d.etectable amount of cocaine, a Schedule     II
Controlled. Substance, as charged in Count One of this Indictment;

      In violation of Title 18, United States Code, Section 92a(c)(f)G)(i).




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                            FORFEITURE ALLEGATION

       The SPECIAL NOVEMBER 20Lg GRAND JURY further alleges:

       1.      Upon conviction of an offense in violation of Title 18, United States Code,

Sections 922(9) ot 924(c), or Title   21",   United States Code, Section 841, as set forth in

this Indictment, defendant shall forfeit to the United States of America any fi,rearm

and ammunition involved in and. used. in the offense, as provided in Title 18, United

States Code, Section 924(dX1), and Title 28, United States Code, Section 2461(c).

       2.     Upon conviction of an offense in violation of Title 21, United States Code,

Section 841, as set forth    in this In'dictment, defendant shall forfeit to the United
States of America any property used, and intended to be used., in any manner and

part, to commit and to facilitate commission of the offense, as provided in Title 21,

United States Code, Sections 853(a)(2).

       4.     The property to be forfeited includes, but is not limited to the following

specifi.c property:

              a.      a black HiPoint Model C9, 9mm semiautomatic pistol bearing

serial number P1901238, and associated ammunition; and

              b.      a black short-barreled     rifle and associated ammunition, seized by

law enforcement on November 20, 2)2l,from 937 Bowd.itch Avenue, Aurora, Illinois;

and

              c.      approximately $19,500, seized by Iaw enforcement on November

20, 2020, from 937 Bowditch Avenue, Aurora, Illinois.
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       5.    If.any of the property. described. above, as a result of any act or omission

by a.defendant: cannot be located upon the exercise of 6us diligence; has           been

transferred or sold to, or deposited with, a third party; has been placed. beyond the

jurisdiction of the Court; has been substantially dininished in value; or has been

commingled   with other property which cannot be divided without difficulty, the
United States of America shall be entitled to forfeiture of substitute property, as

provided by Title 21; United States Code Section 853(p).




                                                     A TRUE BILL:




                                                     FOREPERSON


Signed by Erila Csicsila on behalf of the
UMTED STATES ATTORNEY




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